
PER CURIAM.
This was an effort by appellant to institute supplemental proceedings in order to collect upon a final judgment awarding money damages. The supplemental complaint was dismissed for lack of subject matter jurisdiction. We have reviewed the record and are convinced that the appellant substantially complied with section 56.29, Florida Statutes (1987) and case law requirements so as to establish jurisdiction. We are further convinced that appellee received abundant procedural due process so that no prejudice occurred so as to constitute reversible error.
We reverse and remand for further proceedings.
REVERSED AND REMANDED.
LETTS and WALDEN, JJ., and DAUKSCH, JAMES C., JR., Associate Judge, concur.
